 Case 1:15-cv-01734-JLK Document 63 Filed 05/17/22 USDC Colorado Page 1 of 2
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                     UNITED STATES COURT OF APPEALS FOR THE TENTH CIRCUIT
                                Byron White United States Courthouse
                                          1823 Stout Street
                                      Denver, Colorado 80257
                                           (303) 844-3157
                                      Clerk@ca10.uscourts.gov
 Christopher M. Wolpert                                                             Jane K. Castro
 Clerk of Court                                                                 Chief Deputy Clerk
                                         May 17, 2022


  Dennis Obduskey
  604 Alpine Avenue
  Pueblo, CO 81005

  RE:       22-1156, Obduskey v. Wells Fargo, et al
            Dist/Ag docket: 1:15-CV-01734-JLK

 Dear Appellant:

 The court has received and docketed your appeal. Please note your case number above.

 Attorneys must complete and file an entry of appearance form within 14 days of the date
 of this letter. See 10th Cir. R. 46.1(A). Pro se parties must complete and file an entry of
 appearance form within thirty days of the date of this letter. An attorney who fails to
 enter an appearance within that time frame will be removed from the service list for this
 case, and there may be other ramifications under the rules. If an appellee does not wish to
 participate in the appeal, a notice of non-participation should be filed via ECF as soon as
 possible. The notice should also indicate whether counsel wishes to continue receiving
 notice or service of orders issued in the case.

 Please note that a separate fee is due for initiating an appeal to the circuit court. You are
 required to pay the $505.00 fee ($5.00 filing fee and $500.00 docket fee) to the district
 clerk or file an application for leave to proceed on appeal without prepayment of fees
 with the district court within 30 days of the date of this letter, or this appeal may be
 dismissed without further notice. See Fed. R. App. P. 3(e) and 10th Cir. R. 3.3(B).

 The court will forward all forms, letters and orders to you via US Mail. If you wish to
 change the method of service from US Mail to email, you must make that request in
 writing by completing the enclosed "Consent To Electronic Service" form and returning
 it to this office. Requests to change the method of service must come via regular US Mail
 and may not be emailed. Please note that by providing the court with a valid email
 address you consent to receive all orders/letters issued by the court via "notices of docket
 activity" (NDAs). Paper copies will not be mailed to you. When you receive an email
 "NDA" a link to the order/letter that has been issued will appear in the notice; you are
 entitled to one free "look" at the document and should download it at that time. The
 document will appear as a PDF so you must have the ability to view PDFs. Finally, if
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 your email address changes you must notify the court immediately. It is your
 responsibility to maintain your email address.

 You will receive further instructions regarding prosecution of this appeal from the court
 within the next few weeks.

 Please contact this office if you have questions.

                                             Sincerely,



                                             Christopher M. Wolpert
                                             Clerk of Court



  cc:      Anna Adams
           Christopher Diedrich
           Gregory J. Marshall
           Holly R. Shilliday



  CMW/jjh




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